Frederick P. Fish
1855-1930

W.K. Richardson
1859-1951

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The Honorable Brian M. Cogan '
United States District Court y;:`,$f;t:om
Eastern District of New York ` `
225 Cadman Plaza

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WASHINGTON, DC

Brooklyn, New York 11201

Re: Powertech Association LLC v. Taiwan Sumz'da Electronics, Inc. et al.
09-CV-0439l §BMC!
Dear Judge Cogan:

We are counsel to Plaintiff Powertech Association LLC in the above-captioned
matter. We write to respectfully request that the Court adjourn the date for the Initial
Status Conference, currently scheduled for November 30, 3009, because no Defendant has
yet been served. -

On October 13, 2009, Plaintiff commenced this action by filing its Complaint. On
October 14, 2009, the Court issued a scheduling order, setting the Initial Status Conference
for November 30, 2009 at 10:45 a.m. The Court’s Order also set certain deadlines for
mandatory requirements leading up to the Initial Status Conference.

Currently, Plaintiff is in the process of effecting service on Defendants, however no
defendant has yet been served. Accordingly, in order that the lnitial Status Conference
fully serve its intended objectives, Plaintiff respectfully requests that the Court adjourn the
lnitial Status Conference for approximately 45 days, until Friday, January 15, 2010, if
convenient to the Court. Plaintiff likewise requests that the Court adjourn the deadlines
for the associated mandatory requirements leading up to the conference The Court should
also be informed that Plaintiff may seek to relate this case to an earlier-filed case pursuant
to Local Civil Rule 50.3.1 at the appropriate time.

Plaintiff has not made any prior requests for an adjoumment. Because no

Defendant has yet been served, no consent to this request may be obtain 39 H §§ n L.W, b
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